         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:03CR50-3


UNITED STATES OF AMERICA )
                          )
                          )
         VS.              )                    ORDER
                          )
                          )
BRIDGET MILLER WILSON                    )
                        )


     THIS MATTER is before the Court sua sponte to amend the

Amended Judgment filed February 23, 2005, to eliminate the requirement

that the Defendant pay the cost of her court-appointed attorney. The

Defendant was represented at her plea and sentencing hearings by

retained counsel William D. McDowall, Jr.

     IT IS, THEREFORE, ORDERED that the Clerk of Court prepare an

amended Judgment reflecting the deletion of the requirement for

Defendant to pay the cost of her court-appointed attorney.




      Case 1:03-cr-00050-LHT   Document 73   Filed 02/17/06   Page 1 of 2
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                               Signed: February 16, 2006




Case 1:03-cr-00050-LHT   Document 73   Filed 02/17/06      Page 2 of 2
